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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                    Case No.: 18cv0428 DMS (AHG)
12                          Petitioners-Plaintiffs,
                                                          ORDER ON (1) PLAINTIFFS’
13     v.                                                 MOTION TO ENFORCE
                                                          SETTLEMENT AGREEMENT
14     U.S Immigration and Customs
                                                          PROVISIONS REGARDING THE
       Enforcement (“ICE”); et al.,
15                                                        INDEPENDENT ADJUDICATOR
                         Respondents-Defendants.          AND TRAVEL-RELATED
16
                                                          ASSISTANCE AND (2) PLAINTIFFS’
17                                                        NOTICE OF REMOVAL OF CLASS
                                                          MEMBERS AFTER JUNE 27 ORDER
18
19           This case came on for hearing on (1) Plaintiffs’ Motion to Enforce Settlement
20    Agreement Provisions Regarding the Independent Adjudicator and Travel-Related
21    Assistance, and (2) the Court Order re: Removal of Class Members.1 Lee Gelernt and
22    Daniel Galindo appeared for Plaintiffs, and Daniel Schutrum-Boward and Cara Alsterberg
23    appeared for Defendants.
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        The Court also heard argument on (1) Defendants’ Motion for Temporary Relief from
26    Court Order Pursuant to Rule 60(b), (2) Plaintiffs’ Motion to Enforce Settlement
27    Agreement Regarding the Provision of Services, and (3) Defendants’ Motion Under Rule
      60(b) for Temporary Relief from Court Order Requiring Reinstatement of Acacia Task
28    Order. The Court will address those motions in a separate order.
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 1          On the Court Order re: Removal of Class Members, counsel shall meet and confer
 2    regarding Plaintiffs’ request for additional information. If those meet and confer efforts
 3    are unsuccessful, Plaintiffs may file a follow-up motion with the Court.
 4          On Plaintiffs’ Motion to Enforce Settlement Agreement Provisions Regarding the
 5    Independent Adjudicator and Travel Related Assistance, defense counsel represented that
 6    their clients would be making the necessary payments to the International Organization for
 7    Migration (“IOM”) and the Independent Adjudicator. Consistent with that representation,
 8    the Court orders Defendants to make all past due payments to the Independent Adjudicator
 9    on or before July 25, 2025. Going forward, Defendants shall make all payments to the
10    Independent Adjudicator according to the terms of the Court’s December 11, 2023 Order
11    Appointing Independent Adjudicator. (See ECF No. 729.) On or before July 25, 2025,
12    Defendants shall also provide the necessary funding to IOM so that it may affect the
13    reunification of the three families mentioned in Plaintiffs’ motion. (See ECF Nos. 807,
14    824.) To the extent any other families are in the same position as these three families, i.e.,
15    their reunification is pending due to Defendants’ failure or delay in funding IOM’s
16    reunification efforts, Defendants shall provide that funding forthwith.
17          IT IS SO ORDERED.
18    Dated: July 18, 2025
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